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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY

                                                        x

 MALKA       LASRY,                                           Civil Action No.:

                               Plaintifr
                -against-                                    COMPLAINT FOR YIOLATIONS
                                                             OF THE TELEPHONE
                                                             CONSUMER PROTECTION ACT
PENTAGON FEDERAL CREDIT LTNION

                               Defendant(s).                 DEMAND FOR JURY TRIAL



                      INTRODUCTIONIPRELIMINARY STATEMENT


        PlaintiffMALKA LASRY by and through her attomey, M. Harvey Rephen &

Associates, P.C., by Edward B. Geller, Esq., P.C., Of Counsel, as and for her Complaint against

the Defendant's PENTAGON FEDERAL CREDIT LTNION, (hereinafter referred to as

Defendant(s)" respectfully sets forth, complains and alleges, upon information and belief the

following:




       1.      Plaintiff brings this action on her own behalf for damages and declaratory and

iqiunctive relief arising from the Defendant's violation(s) under Title 47 ofthe United States
                                                                                               Code,

$227 commonly known as the Telephone consumer protection Act (TCpA).

       2-      Defendant is subject to, and required to abide by, the laws of the United States

and the State of New York, r,vhich include the Telephone Consumer Protection Act     of lg9l,47
U.S.C. 9227, et seq. ("TCPA") and its related regulations, including 47 C.F.R.
                                                                               $64.1200 ("TCpA
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 Regulations"), as well as the opinions, regulations and orders issued by the Federal

 Cdmmunications Commission to implement and enforce the TCPA, the telemarketing

 regulations issued by the Federal Trade Commission, 16 C.F.R. $310.4(dX2).




                                               PARTIES

         3.       Plaintiff MAKA LASRY is a resident of the State of New Jersey,

residing at 4 Shayas Road, Lakewood, NJ 08701.

         4.       Defendant PENTAGON FEDERAL CREDIT UNION, has a Corporate

I{eadquarters located at 2930 Eisenhor.ver Avenue, Alexandria,     Sr   L   ZZ: t +.




                                   JURTSDTCTTON AND VEFIUE

         5.       The Courthas jurisdiction overthis matterpursuant to 28 USC $1331 and 28 U.S.C.

 $2201. If applicable, the Court also has pendent jurisdiction over the state law claims in this action

 pursuant to 28 U,S.C. $1367(a).

         6.       Venue is proper in this judicial district pursuant to 28 U.S.C. $ 1391(bX2).

                                    FACTUAL ALLESATIONS

         7.       Plaintiffrepeats, reiterates and incorporates the allegations contained in paragraphs

 numbered "1" through "6" herein with the same force and effect as            if the same were set forth at

 length herein.

         8.       On or about September 2016, Defendant began communicating with ttre Plaintiff

 byplacing auto dialedphone calls to the Plaintiffs cell phone numbers of 848-210-5283 and 848-

 240-5258 and leaving messages.
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          9.      On September 13, 2016 in response to these phone calls the Plaintiff called the

Odfendant and was connected           with a female        representative. The Plaintiff informed the

representative that she was calling in reference to phone calls she has been receiving on her cell

phones.

          10.     The representative asked for her member number or her social security number.

          11.     The Plaintiffstated she does not have an account and that her husband does.

          12.     The representative asked for the phone numbers that they were calling.

          13.     The Plaintiffgave the cell phone numbers of 848-210-5283 and 848-240-5258.

          14.     The represented then asked for the husband's     o*"   and   if   he was available.

          15.     The Plaintiffsaid her husband was not available and asked what this was about.

          16.     The representative said it vras a personal business matter.

          17.     The Plaintiff said can you stop contacting me with auto dialer and text on my cell

phones numbers.

          18.     The representative stated you would need to send that in writing.

          19.     The Plaintiffconfirmed that the representative had both her numbers.

          20.     The representative said yes and the call was concluded.

          21.     Since the conclusion of the call with the Defendant and the requests to have the

phone calls stop the Plaintiffhas received at least 95 calls on her cell phone and 13 texts between

the dates of September 19e,2016 and the present.

                                    FIRST CAUSE       O,   r AqTTON
                                        (Wolations of the TCPA)

          22.     Plaintiffrepeats, reiterates and incorporates the allegations contained in paragraphs

numbered
           o'1"
                  through *21* hereinwith &e same force and effect as if the same were set forth at

length herein.
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          23.     According to the Telephone Consumer Protection Act 47 USC $227(b)(A)(iii),          "It

sh6tl be unlawfirl for any person within the United States, or any person outside the United States

if   the recipient is within the United States (A) to make any call (other than a call made for

emergency purposes or made with the prior consent of the called party) using any automatic

telephone dialing system or an artificial or pre-recorded voice--- (iii) to any telephone number

assigned to a paging service, cellular telephone service, specialized mobile radio service, or other

radio common carrier service, or any service for which the called party is charged for the call,

unless such call us made solely to collect a debt owed to or guaranteed by the United States."

          24.     It has been determined that the statute language udaing o'or" any service for which

the called party is charged, is not accurately interpreted to require that Plaintiff must claim that

Defendant's calls incuired charges. See Breslow c. Wells Fargo Bank, N.A.857 F. Supp 2d

1316, 1319 (S.D. Fla. 2012) and Cgtero v. lranklin Collectio? Serv., Inc. . 2Al2 WL 279448

(S.D. Fla. 2012). A number of Courts have addressed the issue of a Plaintiffbeing charged with

all agreeing that the TCPA does not require     a   Plaintiffwho received calls on hisllrer cell phone to

allege that he/she was charged for the call. For example, in Manno v.Healthcare Revenue

                                                                        *The TCPA does not
Recovery Grp., LLC,289 F.R.D. 674 (S.D. Fla. 2013), the Court held that

require the plaintiffto be 'charged for' the calls in order to have standing to sue." ln Osorio v.

State Farm Banh      F.5.8.,746F.3d1242     (1,1e   Cir. 2014),the Court stated: If the phrase'any

service for which the called party is charged for the call' requires that the party be charged per

call for the 'pagrng service, cellular telephone service, specialized mobile radio service, or other

radio common carrier service' in order for the parfy to prohibit autodialed calls, then the listing

of these services would be superfluous because they are already included under them 'any

service for which the called party is charged.' On the other hand, reading 'any service for which
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the called party is charged for the call' as an additional item beyond any call to a'paging service,

cellular telephone service, specialized mobile radio service, or other common carrier service,'

regardless of whether the called party is charged, gives independent meaning to each term."

       25.      It is thus clear from the plain language of the TCPA, and its considerable body of

resultant case law that the TCPA is violated when a cellular telephone is called with an automatic

dialer without consent, even if no charges are alleged or incurred.

       26.       With the autodialed calls to Plaintiff-s telephone commencing on or about

September 2016 and continuing at arute of approximately (95) times thereafter, the Defendant

violated various provisions of the TCPA, including but not timitJa to 47 USC $227(bXAXiii).


       27.      The Defendant, having been infon:ned that Plaintiff requested that no further ca1ls

be received,   willfully violated the TCPA   at least (95) times.



       28.      Pursuant to the TCPA Omnibus Declaratory Ruling and Order, July 2015,

paragraphs 138 and 139, communications from banking institutions which are exempt oo...are all

intended to address exigent circumstances in which a quick, timely communication with a

consumer could prevent considerable eonsumer harms from occurring or, in the case of the

remediation calls, could help quickly mitigate the extent of harm that   will occur." Pursuant to

Paragraph 139, (3) and (7) "In light of these considerations, we adopt the following conditions

for each exempted call (voice call or text message) made by a financial institution:

3) voice calls and text messages are strictly limited to purposes discussed in paras. 129-137

above and must not include any telemarketing, cross-marketing, solicitation, debt collection, or

advertising content;

7) a financial institution must honor opt-out requests immediately."
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        29.    Defendant is in violation of the TCPA paragraphs 139 (3) for, upon infbrmation

and belief, having used its calls for debt collection and (7), failing to honor          Plaintiff s desire to

opt out of telephone communications despite Plaintiff s clear, unequivocal and repeated requests

that such automatic calls cease.

        30.     Defendant violated various provisions of the [CPA. including but not limited to

47   usc $227(bXAXiii).


                               DEMAT{D FOR TRIAL BY JURY

         31.   Plaintiffhereby respectflrlly requests   a   trial   UV   j*i,   for all claims and issues in its

Complaint to which it is or may be entifled to a jury trial.



                                         PRAYER FOR RELIEF

        WIIEREFORE, Plaintiffdemands judgment from the Defendant                       as   follows:

               A.      For trebled damages to be awarded to the Plaintiff in accordance with the

TCPA, for each of the Defendant's willful or knowing violations of the TCPA.

               B.      A declaration that the Defendant's practices violated the TCPA;

               C.      For any such other and further relief, as well as further costs, expenses and

disbursements of this action, as this Court may deem just and proper.

Dated: April26,2018
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                                        Respectfully submitted,




                                        Edward B. Geller, Esq.
                                        Edward B. Geller, Esq., P.C., Of Counsel to
                                        M. HARVEY REPHEN & ASSOCIATES, P.C.
                                        15 Landing Way
                                        Bronx, New York n464
                                        Tel:(914)473-6783
                                        Of Counsel

                                             for the Plaintffi
                                        Attorney                  ',

                                        MALKA LASRY




     TO: PENTAGON FEDERAL CKEDIT UNION
        2930 EISENHOWER AVENUE
        ALEXNDRA, VA 22314




     (Vi a P r e s crib e d Servic e)

     Clerk of the Court,
     United States District Court, Distict of New Jersey
     Clarkson S Fisher Building & U.S. Courthouse
     402East State Street Room 2020
     Trenton, New Jersey 08608


     (Via Electronic Court Filing)
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